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05 Page 1 of 2‘ Paqe|D 177

 

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3. ;\l.»\(§. I)KT./'l)}",f*`. NUMBER

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6. OT"F.R DKT. Nl|;\ll\i*`.l{

 

'v'. IN C.e\SE/l\[.t\'l"l`ER OF (Cnse Nnme]
U.S. v. Brown Feloity

S. Pz\Yt\‘lEN'l` (fi\'i`EGORY

 

 

'). 'rYPE PERSON REPRESENTED
Adult Defendant

 

ii). Rlsi'ithENTA'rit)N " ‘
(See lns\rjict|nnsi /
Supervised RelcL se

 

11. OFFENSElst Cni\m::m) icm u.s. Co(ic. Tiue & sodium
l) 21 841A=CD.F -- CONTROLLED SUBSTANCE - SELL,

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DIS'I`RIBUTE, OR DISPENSE

  

'_> '~»

 

 

12. :\']`TORNEY'S NAME (First Nnme, M.l., L'.\st Nome, including any ~.ut`li\ci
:\ND MAILlNG ADDRESS

McAfee, Marty
246 Adams Aventte
Memphis TN 38103

'l‘ele'phune Numher:

l-l. N.»\t\‘IE ANI) MA"..ING ADDRESS OF LAW FIRan|_\' |m)\ii!e per ill'ilr\lctinn‘»i

 

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Signnture, ul l’re§iriing ,ludicinl Ol!ieer nr By Ordcr ol' the Coun

   
 

13. COURT ORDER

m 0 Appninling Cnunscl

g F 51th Fnr Fetler;\| Del'enc|er
E P Suhs For Pm\e| Attorne_v

l’rior Attorney's Nnme:

m C Co-Cuuns{l")'l“
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~'~1. went

 

Appointment Date:

ij Becmlse the above-named person represented has testified under oath ur ims
otherwise satisfied this court that he nr she ll) is financially unable m employ counsel :\nc|
1_2) does not wish tn waive cmmsel, and because the int ests l)|"jnstiee so reiluire. the

' ed icf represent this person ill lh`\'~' l':\~‘r.

ntlnrney whose nnme nppems in lteln 12 is '.Ip

  

 

04/9'?]?00€
D:ite of Order

Repaymenl or partial repayment ordered from the person represented for this service al

ENO

time ul' uppnintment.

U YES

 

 
 
 

     

Nune I‘ru 'l`unc Dntc

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

  
 

CATEGORIES (Atiacli itemization or services with dates) C§}§!l`§-§D H§CI:J§§§(I:)H »’Al?wjlg€iTTNEéP "\ HL)L§:;QFAL
15. a. Arraignment andfor Plea _:~ s ' ;

b. B:iil and Detention Hearings m

c. Motion He:lrings niqu
:] d. Triai L;W
C e. Sentencing Hearings m
3 f. Revocatinn I-Ie:lrings
‘[' g. Appc:xls Court ` `"`

h. Other [Specify on additional sheets) nw .. .. M_ M-,..

(R:tte per hour = 5 } 't`O'[‘A[.S:
16. :1. lnterviews and Cont`erences 'P`
g b. Obtaining and reviewing records "
o c. Legal research and brief Writing -
(r: d. Travei time m
3 e. Investigative and ()ther work isp¢¢iry on audio M_`M .MW
ii ante per hour = $ )
l'.'. 'I`ravel Expenses {]odging, parking, meals, mileage, elc.)
(0ther than expert, tr:inscripts. ele.J

 

 

 

 

 

 

 

 

t 2].`= -CASE DlSPOSl'l`lON

 

 

representation'.’ YES NO li' yes, give details on additional sheets
I swear or affirm the truth or correctness 0|` the above statements

Signnlure ol'Altr)rne)l

[-lnve you previously applied to the court for compensation anchor rem'rmhnmcment for this case'.’ _ _ _ _ _
Other than from the cnurt, have yoll, or to your knuw]edge has anyone else, received payment (mmpens:itiun or anything or vnllle) from nny other source in connection with this
|:i ""

19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PER|OD OF SERVICE 20. APPO|NTMENT TERMINATION DATE
IF OTHER THAN CASE COBIPLE'I`IUN
FROI“ TO v
22. CL¢\IM STATUS m F'innl Poyment i:| interim Pnym¢.~nt Numher m Supp|emental l‘nyment

EYES ij NO

ll' yes, were you paid'.’

s:iYes t;l`-'No

 

 

    

 

 

 

 

 

 

N" t t .. t
23, [N COURT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26. DTHER EXPENSES 17, TOTAL AMT. AI‘|’R!CI-;RI
28. StGNA't‘URE OF THE PRESIDING JUDlCtAL OFl“tCER DATE zsn. JUDGE 1 Ai,u.'. _wnGE come
29. IN COURT COMP. 30. OUT OF C()URT C()MP. 31. TRAVE,L EXPENSES 31 OTHER l§KPENSES 33. TOTAL AMT, .-\l'I'ROVi-.‘l>
G~WO*C"'JUDG"-COLO»\PPE‘\LS‘O“LEG> m JUDGECU”E

 

 

 

 

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167 N. Main St.

Ste. 800

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Honorable Bernice Donald
US DISTRICT COURT

